                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                      CIVIL ACTION NO. 5:21-CV-00113-KDB-DCK
 TAMMY L. CLARK,

                  Plaintiffs,

     v.                                                           ORDER

 NEWREZ LLC,

                  Defendants.


          THIS MATTER is before the Court on Plaintiff’s Motion for Default Judgment

(“Motion”) (Doc. No. 5). Plaintiff filed her Complaint on July 21, 2021. The Summons and

Complaint were duly served upon the Defendant, NewRez LLC d/b/a Shellpoint Mortgage

Servicing. No answer or other pleading has been filed as required by law. The Defendant has failed

to make an appearance either personally or by a representative. Accordingly, on September 10,

2021 the Clerk of Court granted Plaintiff’s request for Entry of Default. The Plaintiff now moves

this Court to grant her Motion pursuant to Rule 55(b) Federal Rules of Civil Procedure.

          However, Plaintiff’s Motion (and proposed order) does not include any specific request for

relief beyond an entry of default, which has already been entered. To properly consider entry of a

Default Judgment it is necessary for Plaintiff to inform the Court – with specificity – of the amount

of damages she seeks and establish her entitlement to those damages. Therefore, Plaintiff is

directed to file within 21 days of the date of this Order a Memorandum of Law in support of her

Motion detailing her request for a default judgment along with support for the amount of the

judgment requested.




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SO ORDERED




                Signed: October 4, 2021




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